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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Grace Numerosi as Mother and
next friend to B.N., a minor,
Plaintiff

Civil Action
No.:

V.

Wyndham Vacation Ownership, Inc.

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Defendant )

PLAINTIFF'S COMPLAINT AND JURY TRIAL DEMAND
PARTIES

1. The plaintiff, Grace Numerosi as Mother and next friend to B.N., a minor, is a
natural citizen of the United States with a place of residence in Gloucester,
Massachusetts.

2. The defendant, Wyndham Vacation Ownership, Inc., is a business with a principal
place of business located at 6277 Sea Harbor Drive, Orlando, Florida 32821 and

doing business in Rhode Island.

JURISDICTION

3. Jurisdiction is based on diversity of citizenship pursuant to 28 U.S.C., Section
1332. This action is brought between parties of different states and the amount in
controversy exceeds Seventy-Five Thousand ($75,000.00) Dollars, exclusive of

interest and costs.
VENUE

4. Venue is appropriate as defendant has minimum contacts in the Commonwealth
of Massachusetts to justify the appropriate statutes.

FACTS
5. The plaintiff re-alleges and re-avers paragraphs 1-4 as if expressly stated herein.

6. At all times relevant hereto, the defendant, Wyndham Vacation Ownership, Inc.,
was the owner/operator a hotel located in Newport, Rhode Island (hereinafter the

“Premises’’).
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On or about August 25, 2016, Grace Numerosi and her family were guests
lawfully on defendant’s resort.

Plaintiff and her family were in the pool area of defendant’s property.

B.N., a minor, entered an unlocked and unattended fitness facility adjacent to the

swimming pool area.
The door to the fitness facility was propped open by a trash receptacle.

Without any supervision by staff, B.N., started to use a treadmill located inside
the fitness room.

While using the treadmill, B.N got his right hand lodged inside the treadmill.

By having the door to the fitness room propped open, B.N. was severely injured

on the treadmill.

B.N. sustained second degree burns to his right hand as well as structural injuries
as he was unable to dislodge his hand from the treadmill.

B.N. was transported to Newport Hospital by his mother.

COUNT I
Negligence v. Wyndham Vacation Ownership

The Plaintiff re-alleges and re-avers paragraphs 1-14 as if expressly stated herein.

At all relevant times, the Defendant, by and through their agents and employees
had a duty to exercise reasonable care for the Plaintiff's safety during the time
that the Plaintiff was on the premises. The defendant owed the Plaintiff a duty to
provide a reasonable and safe premise, to regularly inspect and survey the
premises, including the fitness room, to ensure that no hazardous conditions
existed; to not create a hazardous condition for the Plaintiff; and to otherwise

exercise reasonable care.

The Defendant knew or should have known that hazardous conditions existed and
that the Defendant had created these hazardous conditions which could lead to
serious injury to the Plaintiff by leaving the door to the fitness room propped open
and not properly shut.
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19. The Defendant breached the aforesaid duties, as their agents and employees failed
to exercise reasonable care for the Plaintiff's safety during the time that the
Plaintiff was on the Defendants’ premises, by failing to provide a reasonably safe
premises; failing to regularly inspect and survey the premises, including the
fitness room to ensure that no hazardous conditions existed; and by creating a
hazardous condition that caused injury to the Plaintiff.

20. As a direct and proximate result of the Defendant’s breach of duty, the Plaintiff
sustained personal injuries, for which medical treatment was required.

WHEREFORE, the plaintiff, Grace Numerosi, demands judgment against the
defendant, Wyndham Vacation Ownership, Inc., in the sum of ONE MILLION
($1,000,000.00) DOLLARS together with costs and interest.

PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL COUNTS

Plaintiff,
By her attorneys,

/s/ Samuel B. Chipman, Esq.
SAMUEL B. CHIPMAN, ESQ.
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Cases/Numerosi/GraceforBen/PitfsComplaint
